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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


JEFFREY THOMAS, JR.,

                      Plaintiff,

         v.                                          Civil Action No. 18-cv-0800-TJK

CRYSTAL MORELAND,

                      Defendant.


                           AMENDED NOTICE OF DEPOSITION

         PLEASE TAKE NOTICE in accordance with the Federal Rule of Civil Procedure 30,

the Local Rules of this Court, and this Court’s Order of January 26, 2021, that on Friday,

March 5, 2021, at 12:00 p.m. Eastern, Defendant Crystal Moreland, by and through counsel

Williams & Connolly LLP, will take the deposition of Plaintiff Jeffrey Thomas, Jr., via remote

videoconference technology, before an officer duly authorized by law to administer oaths in

accordance with the Rules of this Court, a court stenographer, and video operator. All

participants will participate remotely, via Zoom, through Veritext, which will provide a link for

participation. The deposition will be conducted pursuant to the Rules of this Court and will be

used for purposes of discovery and/or trial. It will be recorded by stenographic and audiovisual

means.


Date: February 23, 2021                            Respectfully submitted,

                                                   /s/ Anna J. Hrom

                                                   Gloria Maier (D.C. Bar No. 1012208)
                                                   Anna Hrom (D.C. Bar No. 1657785)
                                                   Carl Metz (D.C. Bar No. 490633)
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                                                   Counsel for Crystal Moreland

                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2021, I electronically served the foregoing document

via electronic mail to the following recipients:

       Diane A. Seltzer Torre
       dseltzer@seltzerlawfirm.com
       Counsel for Plaintiff




                                                    /s/ Anna J. Hrom
                                                    Counsel for Crystal Moreland
